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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                    Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.

                                                            UNDER SEAL
ROGER J. STONE, JR.,

       Defendant.

__________________________________/

                    DEFENDANT ROGER J. STONE'S REPLY IN SUPPORT OF
                           AMENDED MOTION FOR NEW TRIAL
                                  (Juror Misconduct)

       Roger Stone files this Reply in support of his Motion for New Trial based on juror

misconduct (the “Motion”), and in response to the government’s arguments in opposition. The

government mischaracterizes the Motion. The Motion is based on Juror                ’s extremely

misleading answers during voir dire that conceal not only her strong political bias, but her pre-

trial knowledge of, and views about, Roger Stone and the charges against him.

       The notion that any reasonable person would view this Juror as able to set aside her bias

against Stone and serve as an impartial juror is impossible to reconcile with the evidence. As set

forth in the Motion and discussed below, even a cursory comparison of her numerous social

media posts with her answers during voir dire reveals that the Juror actively sought to conceal

from the Court and the parties her clear bias against Stone, which, though rooted in her political

views, stands separate and apart from simple political bias.       Consequently, a new trial is

warranted or, at a minimum, an evidentiary hearing should be held after Stone has had the ability

to obtain all relevant discovery.
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A.     The Standard for a New Trial Based on a Juror’s False Answers in Voir Dire.

       There is a two-part showing to support a remedy for juror misstatements or

nondisclosure: "[A] party must first demonstrate that a juror failed to answer honestly a

material question on voir dire, and, then further show that a correct response would have

provided a valid basis for a challenge for cause.”           McDonough Power Equip., Inc. v.

Greenwood, 464 U.S. 548, 556, 104 S. Ct. 845 (1984).

       “Both of these elements must be satisfied because defendants are not entitled to a

new trial 'based simply on whether a ... juror had lied, without respect to whether the

dishonesty had a bearing on her impartiality.'” United States v. Liu, 69 F. Supp. 3d 374, 382

(S.D.N.Y. 2014) (citing United States v. Langford, 990 F.2d 65, 69 (2d Cir.1993) (elision in

original)); see also United States v. North, 910 F.2d 843, 905 (D.C. Cir.) (holding that

McDonough standard is applied in D.C. District), opinion withdrawn and superseded in part on

reh'g, 920 F.2d 940 (D.C. Cir. 1990); United States v. Morrow, 412 F. Supp. 2d 146, 171

(D.D.C. 2006) (holding that Supreme Court requires the complaining party to show that the juror

"failed to answer honestly a material question on voir dire, and then further show that a correct

response would have provided a valid basis for a challenge for cause”); Burton v. Johnson, 948

F.2d 1150, 1158–59 (10th Cir. 1991) (holding that doubts regarding bias must be resolved

against the juror); United States v. Scott, 854 F.2d 697, 699 (5th Cir. 1988) (holding that a juror

may not conceal material facts regarding possible bias simply because he believes that he can be

fair in spite of them, the determination is the function of the Court and the parties); United States

v. Mitchell, 690 F.3d 137, 144 (3d Cir. 2012) (holding that, in line with most Courts of Appeals,

certain jurors fall within categories such that, regardless of their stated impartiality, bias must be

implied as a matter of law).


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B.     Counsel Can Presume a Juror Is Truthful During Jury Selection.

       "Jurors are presumed to follow their oath." Pena-Rodriguez v. Colorado, 137 S. Ct. 855,

868 (2017). In Williams v. Taylor, 529 U.S. 420 (2000), a habeas proceeding involving, inter

alia, a claim of juror bias, in response to the argument that the defendant's counsel was not

diligent in discovering that the juror had been dishonest in voir dire or had failed to be

forthcoming, the Supreme Court held that defense counsel is not obligated to scour public

records to verify the accuracy of a prospective juror’s disclosures:

               We should be surprised, to say the least, if a district court familiar
               with the standards of trial practice were to hold that in all cases
               diligent counsel must check public records containing personal
               information pertaining to each and every juror. Because of Stinnett
               and Woodson's silence, there was no basis for an investigation into
               Stinnett's marriage history. Section 2254(e)(2) does not apply to
               petitioner's related claims of juror bias and prosecutorial
               misconduct.

Id. at 443. Indeed, "every juror ha[s] a duty to answer questions affecting his qualifications

honestly." United States v. Moss, 591 F.2d 428, 438 (8th Cir. 1979). Any rule that would place

the burden on the lawyers would render voir dire a useless tool or turn it into an unseemly

interrogation. See Pena-Rodriguez, 137 S. Ct. at 868 (citing Tanner v. United States, 483 U.S.

107, 107 S. Ct. 2739) ("To attempt to rid the jury of every irregularity of this sort would be to

expose it to unrelenting scrutiny.")).

       The bottom line is that "[c]ounsel is entitled to expect that when venire panel members

take an oath to answer truthfully all questions put to them in voir dire, they will indeed tell the

truth." Porter v. Zook, 898 F.3d 408, 427 (4th Cir. 2018).

C.     Juror      Concealed Her Bias Against Roger Stone and Her Knowledge of the
       Charges Against Him and Thereby Denied Stone a Fair Trial.




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        The evidence demonstrates that Juror         deliberately concealed her bias against Stone

and her knowledge of the case and, therefore, the Court should order a new trial. While the

government would have the Court conclude (1) that Stone had sufficient information to raise a

challenge for cause to Juror        ’s presence on the jury; and (2) that the evidence supports

nothing more than a finding that Juror         harbors an acceptable level of political bias, both

assertions are incorrect.

        As an initial matter, we note that, as discussed above, the law is clear that Stone was

entitled to rely on the veracity of Juror     ’s answers to the questionnaire and in voir dire and

did not have a duty to conduct an independent investigation. See, e.g., Williams, 529 U.S. at

443; Porter, 898 F.3d at 427. Therefore, the government’s argument regarding Stone’s ability to

seek court approval to conduct an independent investigation of the prospective jurors is without

merit, as it is in direct opposition to the law on the issue. Simply because the existence of social

media provides a greater opportunity to test a juror's veracity, and learn of expressed and inferred

bias, does not mean that the burden falls upon counsel to conduct a searching investigation of

public records to detect a juror's lack of candor in jury selection. Stone’s post-trial discovery of

Juror      ’s anti-Stone bias does not, therefore, render the Motion untimely.

        Indeed, Stone acted swiftly upon learning of the Juror’s bias. Months after the verdict,

Juror       thrust herself into the public eye when she publicly expressed support for the four

prosecutors who tried the case. Her statements caused members of the public to explore her

social media posts, which led to the discovery of her anti-Stone bias, her pre-trial knowledge of

the case, and her vehement anti-Trump bias.          Upon discovery of that information, Stone

promptly filed the Motion. Accordingly, the Motion is timely.




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         The government argues that Juror                  's disclosures in her answers to the questionnaire

along with her oral responses in voir dire were sufficient to put the defense on notice of her bias.

In support of its position, the government argues that, based on the type of news shows and

media figures she follows, her political bias was clear. The government’s argument in this

regard ignores both the basis of the Motion and the patently misleading nature of the Juror’s

responses.1

         As noted in the Motion, Juror                 ’s social media posts demonstrate that she was not

forthcoming in her answers to the questionnaire or during voir dire. In response to a question

asking whether she had “written or posted anything for public consumption about the defendant,

the House Permanent Select Committee on Intelligence investigation into Russian interference in

the 2016 presidential election, or the investigation conducted by Special Counsel Robert

Mueller,” Juror            claimed that she “can’t remember” but that she “may have shared an article

on Facebook. Honestly not sure.” (Emphasis supplied).

         Question 23:




         Social media posts, however, reveal that answer to be patently incredible. First, the Juror

failed to disclose her numerous posts related to most if not all of the topics mentioned in the

question. And though she mentioned Facebook, she specifically failed to disclose that she

frequently posted on Twitter in connection with Stone, the Special Counsel’s investigation, and


1
 The government’s argument begs the question whether it was able to discover the Juror’s active social media bias
against Stone prior to voir dire. If unable, its argument rings hollow. If it did discover the information, it raises a
question as to why it did not bring the information to the attention of the Court and the defendant.
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from the Court and the parties that would have provided a valid challenge for cause. That she

may have believed that she could set her bias aside does not excuse her failure to disclose the

sought after information. The decision was for the Court and the parties to make, not Juror

Scott, 854 F.2d at 699. Indeed, this principle has deep roots in our jurisprudence:

               Presumed bias dates back in this country at least to Aaron Burr's
               trial for treason, where Chief Justice Marshall, riding circuit, noted
               that an individual under the influence of personal prejudice “is
               presumed to have a bias on his mind which will prevent an
               impartial decision of the case, according to the testimony.”
               Marshall explained, “He may declare that notwithstanding these
               prejudices he is determined to listen to the evidence, and be
               governed by it; but the law will not trust him.” United States v.
               Burr, 25 F. Cas. 49, 50 (D.Va.1807) (emphasis added).

Dyer v. Calderon, 151 F.3d 970, 984 (9th 1998) (presuming bias where juror concealed that her

brother was victim of similar crime). Moreover, the Juror’s status as a lawyer makes it all the

more difficult to ignore her decision to withhold critical information, as she is presumably

familiar with her ethical obligation of candor with the Court.

       Based upon the undisputed facts set forth above, it is troubling that the government is

willing to overlook conduct that blatantly undermines the integrity of the judicial process. As the

government poignantly stated in its Supplemental and Amended Sentencing Memorandum, “the

prosecutor ‘is the representative not of an ordinary party to a controversy, but of a sovereignty

whose obligation to govern impartially is as compelling as its obligation to govern at all; and

whose interest, therefore, in a criminal prosecution is not that it shall win a case, but that justice

shall be done.’” Gov. Mem. at 1 (quoting Berger v. United States, 295 U.S. 78, 88 (1935)).

There is no way to reconcile Juror       ’s conduct with the imperative that justice shall be done.

       Consequently, given that Juror           omitted crucial details and failed to disclose her

strong bias against the Defendant, a new trial should be ordered because Stone was deprived of

information that would have supported a challenge for cause.
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D.     Juror Bias Based on Political Affiliation can be Grounds for a Juror to be Excused
       for Cause.

       In addition to Juror       ’s undisclosed bias against Stone himself, Juror         also failed

to disclose that she holds political bias against President Trump and his political associates—of

which Stone is one—to a degree that renders impartiality impossible.                The government

downplays political bias of a juror as having no consequence on a juror's ability to be fair and

impartial. Political bias is like any other bias; it can affect impartiality whether or not someone

believes it to be so. In this case, the depth of the Juror's political bias, as evidenced in her social

media postings, is extreme to a degree such that no rational person viewing the matter

objectively could have confidence in the juror’s ability to be impartial in this case.

       The Supreme Court has recognized that questioning a potential juror about political

affiliation may be appropriate where preliminary questioning indicates that the juror "might, or

possibly would, be influenced in giving a verdict by his political surroundings." United States v.

Chapin, 515 F.2d 1274, 1290 (D.C. Cir. 1975) (citing Connors v. United States, 158 U.S. 408,

415 (1895)); see McCabe v. Macaulay, No. C05-0073, 2008 WL 11509464, at *5 (N.D. Iowa

May 8, 2008) (discussing Connors and Chapin, and stating that in the case before it involving

political overtones, whether or not a prospective juror is a "supporter" of President Bush or

otherwise active in partisan politics, may be reasonably related to how he or she would perceive

the facts presented at trial); United States v. Campbell, 845 F.2d 782, 786 (8th Cir. 1988) (where

case focused on the 1986 campaign on November election, district court justifiably concerned

that residents and others closely associated with them might be predisposed in their views of the

case; the court's experience with the strength of partisan feelings in the county reinforced this

concern; court questioned and excluded juror because his parents-in-law knew defendant and had




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worked for him in campaign, and court knew that partisan feelings in the county ran high; court

concerned that any of these factors might affect the juror's impartiality).

       In certain cases, political views can affect how a juror may perceive the facts presented

and may influence his or her verdict. The government argues that this Juror's answers were

consistent with her Twitter posts.      They were not.      Her answers lacked candor and were

inconsistent with her Twitter posts. Moreover, she concealed from the Court and the parties her

use of Twitter to post her strong political views.

       Consequently, neither the Court nor the parties were aware that her Twitter posts

included opinions and commentary, not just about Stone himself, but also about Trump and his

associates in which the Juror equated support of Trump with being racist. Given that the Juror

plainly sees Stone as an associate of Trump’s, she undoubtedly deems Stone to be racist. See

Pena-Rodriguez, 137 S. Ct. at 870 (finding that knowledge of a juror's adoption of a racial

stereotype is a ground for a new trial). The Juror also posted extensively about claims of Russian

interference in the 2016 election, the Special Counsel's investigation regarding those claims, and

her support of the Special Counsel and disdain for Trump and his associates, including Stone.

       Under the circumstances of this case, the Juror’s previously undisclosed fervent bias

against Trump and, by extension, Stone, places this Juror in a category of people who, as a

matter of law, must be deemed biased. Mitchell, 690 F.3d 137, 144 (3d Cir. 2012). Accordingly,

had this Juror’s deep political bias been known to the Court and the parties, this Juror would

certainly have been removed for cause. Because she deliberately concealed her bias, the Court

allowed her to be seated and, as a result, a biased juror became the foreperson. A new trial is,

therefore, required. United States v. Martinez–Salazar, 528 U.S. 304, 316 (2000) (“[T]he seating

of any juror who should have been dismissed for cause ... would require reversal”).


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Juror




Juror




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       Juror




       Based upon the questionnaire responses, there can be little doubt that if Juror        had

disclosed her tweets and revealed the extent of her political zealousness, she would not have

been permitted to be a juror. In her social media posts, she declares President Trump a racist and

that those associated with him are racist, too: “Co-signing and defending a racist and his racist

rhetoric makes you racist. Point blank.” Exhibit 1. As illustrated above, Juror          also has


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definite opinions about the arrest of Roger Stone and that any expressed sympathy toward him is

wasted in light of others who have been abused by overzealous law enforcement.

       Consequently, the Court should order a new trial, given that, when compared with other

potential jurors who were excused for cause, there can be little doubt that had the Court been

aware of Juror        ’s anti-Stone and anti-Trump social media posts, the Court would have

excused her for cause.

F.     The Court Should Grant an Evidentiary Hearing.

       United States v. Boney, 977 F.2d 624 (D.C. Cir. 1992) held that the district court erred in

not granting an evidentiary hearing where the juror failed to disclose his felony status. The court

explained:

               Even though the Sixth Amendment does not require automatic
               reversal, there is still the question whether appellants were entitled
               to a hearing to determine whether the juror was in fact biased.
               Although the discovery of the juror's felon status does not by itself
               require a new trial, we think the juror's failure to disclose his status
               in response to the voir dire examination presents serious added
               concerns. After all, lying or failing to disclose relevant information
               during voir dire itself raises substantial questions about the juror's
               possible bias. While refusing to adopt a per se rule requiring a new
               trial in United States v. North, 910 F.2d 843 (D.C.Cir.1990), cert.
               denied, U.S. 111 S. Ct. 2235, 114 L.Ed.2d 477 (1991), we
               recognized the seriousness of a juror's deliberate concealment
               of relevant information during voir dire.

                                                ****

               We do not now hold that any false statement or deliberate
               concealment by a juror necessitates an evidentiary hearing. But we
               believe that a juror's refusal to admit his felony status is
               particularly troublesome. Unlike some information sought in voir
               dire, a question about felon status would strike the average juror as
               extremely serious and sensitive. Lying about a factor as important
               (and as easy to verify through public records) as felon status raises
               at least the inference that the juror had an undue desire to
               participate in a specific case, perhaps because of partiality.
               Because the record provides no evidence that the motivation

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               for the lie was unrelated to bias in this case, it was an abuse of
               discretion under these facts for the trial judge not to have held
               an evidentiary hearing.

               We therefore remand this case for the district court to hold an
               evidentiary hearing to determine whether the juror's failure to
               disclose his felon status resulted in actual bias to the appellants.

Id. at 634–35 (footnote omitted; emphasis added); see also United States v. White, 116 F.3d 903,

929 (D.C. Cir. 1997) (holding that, if juror is shown to have lied during voir dire, a hearing

ordinarily is required to determine whether the lie resulted in prejudice); United States v.

Wilkerson, 656 F. Supp. 2d 11, 15 (D.D.C. 2009) (finding that, generally, the remedy for alleged

jury misconduct or bias is a hearing to determine if prejudice occurred).

       It is the "undue desire to participate in a specific case" that forces the conclusion that this

Juror wanted to accomplish a specific agenda. Boney, supra at 634. Accordingly, at the very

least, the Court should conduct a hearing to investigate the serious issues raised in the Motion.

       In advance of any hearing, Stone requests that he be provided the opportunity to obtain

meaningful discovery from Juror          including all of her Facebook posts, which are "private"

and unreviewable, and any non-public posts on Twitter or any other social media platform. In

addition, the Juror should be required to disclose whether, during any relevant time period, she

has been “friends” with, or otherwise follows or is followed by, any other juror on this case on

any social media platform.

       As noted in the Motion, Juror        ’s Twitter post on the day of the verdict gives rise to a

concern that she may have prematurely celebrated the conviction of Stone, which is something

that should be explored at a hearing. Social media provides the opportunity for courts to learn

more about prospective jurors. Courts should become more sensitive to juror misconduct

employing social media as a mechanism. See United States v. Fumo, 655 F.3d 288, 332 (3d Cir.


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2011), as amended (Sept. 15, 2011) (citing David P. Goldstein, The Appearance of Impropriety

and Jurors on Social Networking Sites: Rebooting the Way Courts Deal with Juror

Misconduct, 24 Geo. J. Legal Ethics 589 (2011)).

                                       CONCLUSION

       The Court should grant the motion for new trial. Alternatively, the Court should order an

evidentiary hearing to include testimony and production from Juror      and perhaps others.




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                                               Respectfully submitted,
                                               By: /s/_______________

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


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